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August 21, 2024

District Judge Amit P. Mehta
United States District Court
District of Columbia

333 Constitution Avenue N.W,
Washington, D.C. 20001

Re: Michael Daniele

Dear Honorable Mehta:

We are writing to Your Honor on behalf of our son-in-law Michael Daniele. We have
known Michael for close to twenty years, and we have no reservations in providing a strong
character reference for him.

We are aware of the charges brought against Michael due to his presence in Washington
D.C. on January 6, 2021. Michael has a very strong love for his country. His patriotism is shown
by the name of his boat hauling business started in 2010, known as “Patriot Boat Hauling” which

proudly displays the American Eagle.

Michael is a kind and caring family man, who has always displayed the utmost respect for
his wife, children, parents, siblings, and extended family. To this day, almost 20 years since
marrying our daughter, he still calls his father-in-law “Mr. Higgins”, Michael has a strong sense
of responsibility and commitment, and he can always be depended upon by his family and friends.

Michael is a hardworking, compassionate person, dedicated to the well-being of others as
evidenced by his 26-year career as a New Jersey State Trooper. His professionalism, integrity and
strong work ethic have always been remarkable.

Please accept this letter as a true and heartfelt depiction of Michael’s good moral character.

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Patrick J.

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